Case 3:17-cv-03755-FLW-DEA Document 2 Filed 05/26/17 Page 1 of 3 PageID: 23




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY




                                                    )
 BRYAN MESSENGER,                                   )
                                                    )
        Plaintiff,                                  )        Case No.:
                                                    )
v.                                                  )
                                                    )
 NATIONAL BOARD OF MEDICAL                          )        JURY TRIAL
 DEMANDED EXAMINERS,                                )
                                                    )
                                                    )
Defendant.                                          )
                                                    )


_____________________________________________________________________________
              PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
 _____________________________________________________________________________

       Comes now Plaintiff, Bryan Messenger, by and through counsel, and moves this Court

for entry of a preliminary injunction ordering Defendant National Board of Medical Examiners

(NBME) to immediately provide Dr. Messenger double time to complete the USMLE Step 2 CK.

Dr. Messenger must pass this test in order to obtain his medical license and competitively apply

for residency programs.

        Dr. Messenger has dyslexia. The double time that Dr. Messenger seeks from the NBME

is the same testing accommodation that he received for examinations throughout medical school

on the basis of extensive testing and documentation. Double time is an accommodation that the

NMBE routinely provides for test-takers. Despite NBME’s history of providing double time as a

testing accommodation and Messenger’s well-documented need for such double time, NMBE
Case 3:17-cv-03755-FLW-DEA Document 2 Filed 05/26/17 Page 2 of 3 PageID: 24




has twice refused his requests for this accommodation. As a result, Messenger has been unable

to obtain scores that fairly measure his ability rather than his disability and his dream of

becoming a pediatrician has been put on hold indefinitely. Messenger moves for preliminary

injunctive relief so that he can take the USMLE Step 2 CK by July 15, 2017 with

accommodations in order to submit a competitive application for summer 2018 residency

programs.

        As grounds for this Motion, Plaintiff states as follows: 1) Plaintiff is likely to succeed on

the merits; 2) Plaintiff is likely to suffer irreparable harm in the absence of preliminary relief; 3)

The balance of equities tips in Plaintiff’s favor; and 4) A preliminary injunction is in the public

interest.

        Plaintiff further requests this Court waive the entry of a bond as security for the entry of

preliminary relief.

        This Motion is supported by a Memorandum of Law, the Declaration of Plaintiff Bryan

Messenger, and the Declaration of Lisa P. Kestler, PhD.




Dated: May 26, 2017                                    Respectfully submitted,


                                                       s/Clara R. Smit
                                                       Clara R. Smit, NJ Bar No. 060086
                                                       Law Office of Clara R. Smit
                                                       100 Horizon Center Boulevard
                                                       Hamilton, New Jersey 08691
                                                       Phone: (732) 843-6600
                                                       Fax: (877) 617-3494
                                                       crsmitlaw@aol.com




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Case 3:17-cv-03755-FLW-DEA Document 2 Filed 05/26/17 Page 3 of 3 PageID: 25




                                         s/Martha M. Lafferty
                                         Mary M. Vargas*
                                         Michael Steven Stein*
                                         Martha M. Lafferty*
                                         Stein & Vargas, LLP
                                         840 First Street NE, Third Floor
                                         Washington, DC 20002
                                         Phone (202) 248-5092
                                         Facsimile (888) 778-4620
                                         michael.stein@steinvargas.com
                                         mary.vargas@steinvargas.com
                                         martie.lafferty@steinvargas.com

                                         *Motions to participate pro hac vice to be
                                         submitted after case opened




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